✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                              EASTERN                                                  DISTRICT OF                                    TENNESSEE


               UNITED STATES OF AMERICA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                   TRAVIS MICKENZIE REED                                                                               Case Number: 2:19-CR-97-1

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 CLIFTON L. CORKER                                                  THOMAS MCCAULEY                                           MARK S. HANOR
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 07/11/2019                                                         DCR                                                       ARLENE PAPE
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

                      7/11/2019

             W                                                      SHANNON REED




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    1   Pages

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